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                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


 UNITED STATES OF AMERICA,                        Case No. 20-cr-00249-RS-1
               Plaintiff,
                                                  ORDER OF REFERENCE TO
                v.                                MAGISTRATE JUDGE
 ROWLAND ANDRADE,
               Defendant.



       Pursuant to Northern District Criminal Local Rule 7-1(b), the Court hereby refers

Defendant’s Motion to Compel Discovery [97] and any future discovery to a randomly assigned

Magistrate Judge for resolution.



IT IS SO ORDERED.



Dated: July 18, 2022

                                               ______________________________________
                                               RICHARD SEEBORG
                                               Chief United States District Judge
